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GAS 245B          (Rev. 06/18) Judgment in a Criminal Case
DC Custody TSR



                                          UNITED STATES DISTRICT COURT
                                                      SOUTHERN DISTRICT OF GEORGIA
                                                          BRUNSWICK DIVISION
             UNITED STATES OF AMERICA                                        )      JUDGMENT IN A CRIMINAL CASE
                                  v.                                         )
                       Elizabeth McAlister                                   )
                                                                             )      Case Number:                  2:18CR00022-5
                                                                             )
                                                                             )      USM Number:                   17874-083
                                                                             )
                                                                             )
                                                                                    Pro Se; William P. Quigley and Jason Randall Clark
THE DEFENDANT:                                                                      Defendant’s Standby Attorneys

‫ ܆‬pleaded guilty to Counts
‫ ܆‬pleaded nolo contendere to Count(s)                            which was accepted by the court.

‫ ܈‬was found guilty on Counts           1, 2, 3, and 4 after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                                                Nature of Offense                                        Offense Ended    Count

18 U.S.C. § 371, 18 U.S.C. § 1382, 18 U.S.C.
§1363, 18 U.S.C. § 1361, and 18 U.S.C. § 2                     Conspiracy                                                April 5, 2018     1

18 U.S.C. 1363 and 18 U.S.C. 2                                 Destruction of property on naval installation             April 5, 2018     2

18 U.S.C. 1361 and 18 U.S.C. 2                                 Depredation of government property                        April 5, 2018     3

18 U.S.C. 1382 and 18 U.S.C. 2                                 Trespass                                                  April 5, 2018     4

 The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
‫ ܆‬The defendant has been found not guilty on Count(s)
‫ ܆‬Count(s)                                   ‫ ܆‬is            ‫ ܆‬are dismissed as to this defendant on the motion of the United States.
          It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the Court and United States Attorney of material changes in economic circumstances.

                                                                                 June 8, 2020
                                                                                 Date of Imposition of Judgment




                                                                                 Signature
                                                                                 Sign
                                                                                    nat
                                                                                      ature of Judge


                                                                                 LISA GODBEY WOOD
                                                                                 UNITED STATES DISTRICT JUDGE
                                                                                 Name and Title of Judge
                                                                                 June 9, 2020
                                                                                 Date
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                                                                  IMPRISONMENT

          The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
          term of: time served as to each of Counts 1, 2, 3, and 4, all to be served concurrently. In imposing a sentence of time served,
          it is the Court’s intention that the defendant receive credit for the period of 17 months and 9 days (527 days) that she
          remained in pretrial detention in the instant case.


     ‫܆‬    The Court makes the following recommendations to the Bureau of Prisons:




     ‫܆‬    The defendant is remanded to the custody of the United States Marshal.

     ‫܆‬    The defendant shall surrender to the United States Marshal for this district:

         ‫܆‬       at                                  ‫܆‬     a.m.     ‫ ܆‬p.m.           on                                        .

         ‫܆‬       as notified by the United States Marshal.

     ‫܆‬    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

         ‫܆‬       before 2 p.m. on                                                          .

         ‫܆‬       as notified by the United States Marshal.

         ‫܆‬       as notified by the Probation or Pretrial Services Office.


                                                                        RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                                to

at                                                        , with a certified copy of this judgment.


                                                                                                         UNITED STATES MARSHAL



                                                                                By
                                                                                                      DEPUTY UNITED STATES MARSHAL
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                                                         SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of: 3 years as to each of Counts 1, 2, and 3, all to be served
concurrently.

                                                     MANDATORY CONDITIONS

1.    You must not commit another federal, state, or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to 1 drug test within 15 days of release
      from imprisonment and at least 2 periodic drug tests thereafter, as determined by the court.
      ‫ ܈‬The above drug testing condition is suspended, based on the court’s determination that you pose a low risk of future
      substance abuse. (Check, if applicable.)
4.    ‫ ܈‬You must cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
5.    ‫ ܆‬You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
      directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
      works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
6.    ‫ ܆‬You must participate in an approved program for domestic violence. (Check, if applicable.)
7.    ‫ ܈‬You must make restitution in accordance with 18 §§ U.S.C. 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (Check, if applicable.)
8.    You must pay the assessment imposed in accordance with 18 § U.S.C. 3013.

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions
on the attached page.
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                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.


  1.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
       time frame.
  2.   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
  3.   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
       the court or the probation officer.
  4.   You must answer truthfully the questions asked by your probation officer.
  5.   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
       notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer
       within 72 hours of becoming aware of a change or expected change.
  6.   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
       officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
  7.   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
       10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
  8.   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
       been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
       permission of the probation officer.
  9.   If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e. anything that
       was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as a nunchakus or
       tasers).
 11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
       without first getting permission from the court.
 12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified that person about the risk.
 13.   You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provide me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant’s Signature ____________________________________________________                           Date _____________________
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                                          SPECIAL CONDITIONS OF SUPERVISION

1. You must provide the probation officer with access to any requested financial information and authorize the release of any financial
information. The probation office may share financial information with the U.S. Attorney's Office.

2. You must pay the financial penalty in accordance with the Schedule of Payments sheet of this judgment. You must also notify the court of
any changes in economic circumstances that might affect the ability to pay this financial penalty.

3. You must submit your person, property, house, residence, office, vehicle, papers, computers (as defined in 18 U.S.C. § 1030(e)(1)), other
electronic communications or data storage devices or media, to a search conducted by a United States probation officer. Failure to submit to a
search may be grounds for revocation of release. You must warn any other occupants that the premises may be subject to searches pursuant to
this condition. The probation officer may conduct a search under this condition only when reasonable suspicion exists that you have violated
a condition of supervision and that the areas to be searched contain evidence of this violation. Any search must be conducted at a reasonable
time and in a reasonable manner.
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                                                CRIMINAL MONETARY PENALTIES
    The defendant must pay the total criminal monetary penalties under the schedule of payments.

                 Assessment       JVTA Assessment *                  Fine                                 Restitution
TOTALS           $310             Not applicable                     Not applicable                       $ 33,503.51

‫܆‬     The determination of restitution is deferred until                            . An Amended Judgment in a Criminal Case (AO 245C)
      will be entered after such determination.

‫܈‬     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
      otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
      victims must be paid before the United States is paid.

Name of Payee                                    Total Loss**                   Restitution Ordered                Priority or Percentage

“Treasurer of the United States” on
                                                                                             $33,503.51                        1
behalf of the Department of the Navy




TOTALS                                       $                              $                 33,503.51

‫܆‬     Restitution amount ordered pursuant to plea agreement $

‫܆‬     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the schedule of
      payments may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

‫܈‬     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     ‫܈‬     the interest requirement is waived for the         ‫܆‬   fine      ‫ ܈‬restitution.
     ‫܆‬     the interest requirement for the          ‫ ܆‬fine       ‫ ܆‬restitution is modified as follows:

* Justice for Victims of trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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                                                        SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A    ‫ ܈‬Lump sum payment of $                      310            due immediately, balance due

          ‫܆‬      not later than                                     , or
          ‫܈‬      in accordance      ‫ ܆‬C,        ‫ ܆‬D,          ‫܆‬ E, or    ‫ ܈‬F below; or
B    ‫ ܆‬Payment to begin immediately (may be combined with                     ‫ ܆‬C,          ‫ ܆‬D, or           ‫ ܆‬F below); or
C    ‫ ܆‬Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D    ‫ ܆‬Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                          (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    ‫ ܆‬Payment during the term of supervised release will commence within                      (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    ‫ ܈‬Special instructions regarding the payment of criminal monetary penalties:
          While on supervised release, nominal payments of a minimum of $25 per month shall be made. Payments are to be made payable
          to the Clerk, United States District Court, for disbursement to the victim.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

‫ ܈‬Joint and Several
    Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
    and corresponding payee, if appropriate.
    Stephen Michael Kelly, Docket Number 2:18CR00022-1; Total Amount: To be determined; Joint and Several Amount: To be determined.
    Mark Peter Colville, Docket Number 2:18CR00022-2; Total Amount: To be determined; Joint and Several Amount: To be determined.
    Clare Therese Grady, Docket Number 2:18CR00022-3; Total Amount: To be determined; Joint and Several Amount: To be determined.
    Martha Hennessy, Docket Number 2:18CR00022-4; Total Amount: To be determined; Joint and Several Amount: To be determined.
    Elizabeth McAlister, Docket Number 2:18CR00022-5; Total Amount $33,503.51; Joint and Several Amount $33,503.51.
    Patrick M. O’Neill, Docket Number 2:18CR00022-6; Total Amount: To be determined; Joint and Several Amount: To be determined.
    Carmen Trotta, Docket Number 2:18CR00022-7; Total Amount: To be determined; Joint and Several Amount: To be determined.

‫ ܆‬The defendant shall pay the cost of prosecution.
‫ ܆‬The defendant shall pay the following court cost(s):
‫ ܆‬The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
